pm gnazwrwenhnn

DB@BW€HYAIZ@URHMNMME_ Page 1 of 2 PagelD 147

 

\./M\J\-l \_/
l. ClRJDlST./DIV. CODE 2. PERSON REPRESENTED

 

 

 

voUcHER NUMBER /(£_~
TNW Barl<sdaie, Theresa 0 ,0.
h .,- z
3. MAG. DKT.."DEF. NUMBER 4. DIST. DKT.¢'DEF. NUMBER 5. APPEALS DKT./DEF. NUMBER 6. OTHER DI(T. NUMBER f I,; 52
2.-01-020231_001 v&'[

 

7.1N CASB'MATTER 0F
U.S. v. Barksdaie Felony

(Case Name) 8. PAYMENT CATECORY

 

 

9. TYPE PERSON REPRESENTED IIJ. R.EPRESENTATION TYPE
(See insiructluns)

Adult Det`endant Motion Attacking(-§'

 

 

i 1. OFFENSE(S) CH ARGED (Cite U.S. Code, Tl'tle & Set:tion)
l) 21 841A:MD.F -~ MARIJUANA - SELL, DISTRIBUTE,

|tmore than one oftense.

ltst (up to t'lve} major offenses charged, according to severity otul'fer\se.

OR DISPENSE

 

12. ATTORNEY'S NAME I-`|rst Name. M.l.. Lasl Name. lncluding anyl sufl'lx}
AND MAILINC AI)DRE S

PARRIS, ROBERT

8 SOUTH THIRD ST
4TH FLOOR
MEMPHIS TN 38103

Te|ephone Number: (90] ) 529`8500
14. N AME AND MA|LING ADDRESS OF LAW FIRM fonly provide per instructional

 

 

 

13. COURT ORDER
0 Appolnt|ng Counsel

F Suhs For Federa| Delender
[l P Subs Fur Pene| Attorney

l’rlor Altorney's Name:

l:\ C Co-Counsel
[] R Subs For Retalned Atlurney
U Y Standhy Cuunsel

 

Appolntment Date:

 

m Because the above-named person represented has testified under oath or has
otherwise satisfied this court that he or she (I) is l'lnancialiy unable to employ counsel and
(1] does not wish to waive counsel, md because the interests otjustice so require. the

attorney whole name appears |n llem 12 ls polnted tn represent this person in thls case,
or

S/gtfature tPreslding .ludiclai Ol'tlcer or By Order ottlte Court
07/ l ')/? f`it'l §
t0rder Nune Fro Tune Dlte
Re nt or partial repayment ordered from the person represented for this service at
time of appointment. i:l YES NO

Dlt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

9. CERTIFICA'IION OF ATTORNEY»'PAYEE FOR THE PERIOD 0 F SERVICE

 

 

 

 

 

CATEc;omi;-:s (Armh newman onerous wish dam) CE§I§"§SD é:s?;§£l§; “§§IYISFR§;SH le\;j`);.{§gsl~:;“z;t)" A§E{,?EQ,{}AL
15. a. Arroignment and/or P|ea

b. Ball and Detentlon Heartngs

c. Motion Hearlngs
g d. 'I`rlal
C e. Sentencing Hearlngs
3 f. Revocation Hearings
: g. Appeals Coort

h. Other (Spet:lfy on additional sheets)

(Rate per hour - $ ) TUI`ALS:

16. a. Int:erviews and Conferent:es
§ b. Obtaining and reviewing records
n c. Lega| research and briefwriting
(f: d. Travel time
§ e. lovestlgative and Other work (Spe¢lty on additional mem
tr (Rate per hour - $ ) TOTALS:
I7. Travel Expenses (lodging, parking, meals, mileage, etc.)
lB. Other Expenses (other than espert, transcripts, etc.)

 

 

 

20. AFPOINTMENT TERMINATION DATE
lF OTHER THAN CASE COMPLET|ON

2|. CASE DISPO SlTlON

 

 

l swear or affirm the truth or correctness of the above statements.

Signature ofAttorney:

FRDM TD
22. CLA[M STATUS I:] Fina| Payment ij Inlerim PsylnentNumber ij Supplemental Payment
Have you previously applied to the court l'cr compensation and/or remimbursement for this case‘.’ l:] YES |fyes. were you paid'.’ \:I YE.S E NO
Other then from the court, have you, or toyour knowledge hu anyone else, received payment (compensatlon or anything or value) from anyl other source in connection wlth this
representation? |:| ES l:] NO lt' yes, give details on additional sheela.

Dnte-

 

  

en

 
 
 

25. TRAVEL

). l‘.xz“'~*

 

  
  

   

   

 

   

    

 

 

 

 

 

 

approved in excess orthe statutory threshold amoun

 

SIGNATIJRE OF CHIEF.IUDGE, COURT OtF APP EALS (OR DELEGATE} Paymern

23. lN COURT COMP. EXPENSES 26. OTHER EXPENSES z'i'. TOTAL AMT.APrR/d'l;:RT
28. SlGl`i,~it'I`URt-`J OF 't‘I-IE PRE.S[DING .lUDlClAL OI~`FECER DATE zst. JUDGE 1 MAG. .lul)ct: CODE
29. IN COURT COM P. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. CTHER EXPENSES 33. TOTA.L AMT. APPROVED

34. DATE

Jda. JUDGE CODE

 

 

  

 

 

Thls document entered on the docket sheet in com liance
Witn Flu|e 555 ami/or 32(b) FRCrl'-‘ on 2 "0?:2 §

/O?D

     

UNITED `sETATs DISTRICT COUR - WTERN D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 120 in
case 2:0]-CR-20231 Was distributed by faX, mail, or direct printing on
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Robert L. Parris

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Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

